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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
RE:                                                    CHAPTER 7

SMITH, DAVID L., JR.                                   CASE NO. 17-67324-LRC


       Debtor(s).




                      TRUSTEE'S REJECTION OF APPOINTMENT


         Comes Kyle A. Cooper, Interim Trustee for the above-referenced estate and respectfully
rejects this appointment because of a potential conflict of interest.



       Dated: August 23, 2021.

                                                    Respectfully submitted,


                                                    /s/ Kyle Cooper
                                                    Kyle Cooper
                                                    Chapter 7 Trustee
                                                    GA Bar No. 425918

                                                    120 Travertine Trail
                                                    Alpharetta, GA 30022
                                                    (770) 687-2982
